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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Norfolk Division
JAMES JUNIOR CONYERS, #25915-083,
Petitioner,
Vv. ACTION NO. 2:19cv244

JUSTIN ANDREWS, Warden,!

Respondent.

FINAL ORDER

Petitioner James Junior Conyers (“Conyers”), a federal inmate
convicted in the Eastern District of North Carolina and housed in
the Federal Correctional Complex in Petersburg, Virginia, filed a
pro se petition, pursuant to 28 U.S.C. § 2241. ECF No. 1. Conyers
challenges his sentence as a career criminal and seeks to have his
sentence vacated and to be resentenced without the career criminal
enhancement. ECF No. 1 at 3-4, 7-12.

The matter was referred to a United States Magistrate Judge
pursuant to the provisions of 28 U.S.C. § 636(b) (1) (B) and (C) and
Rule 72 of the Rules of the United States District Court for the

Eastern District of Virginia for report and recommendation. The

 

1 After the filing of the petition, Justin Andrews was
appointed warden of FCC Petersburg. It is ORDERED that the
petition shall be deemed amended to substitute Justin Andrews,
Warden, as the sole respondent in this proceeding.
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report and recommendation, filed March 12, 2020, recommends that
respondent’s motion to dismiss (ECF No. 5) be granted and Conyers’s
petition (ECF No. 1) be dismissed without prejudice for lack of
jurisdiction. ECF No. 8. Each party was advised of the right to
file written objections to the findings and recommendations made
by the Magistrate Judge. No objections have been filed, and the
time for filing objections has expired.

The Court, having reviewed the record, does hereby adopt and
approve the findings and recommendations set forth in the report
and recommendation. The Court, therefore, ORDERS that
respondent’s motion to dismiss, ECF No. 5, is GRANTED, and the
petition for a writ of habeas corpus, ECF No. 1, is DENIED and
DISMISSED without prejudice for lack of jurisdiction.

Conyers has failed to demonstrate “a substantial showing of
the denial of a constitutional right,” and, therefore, the Court
declines to issue any certificate of appealability pursuant to
Rule 22(b) of the Federal Rules of Appellate Procedure. See
Miller-El v. Cockrell, 537 U.S. 322, 327, 335-36 (2003).

Conyers is ADVISED that because a certificate of
appealability is denied by this Court, he may seek a certificate
from the United States Court of Appeals for the Fourth Circuit.
Fed. R. App. P. 22(b); Rules Gov. § 2254 Cases in U.S. Dist. Cts.
1l(a). If Conyers intends to seek a certificate of appealability

from the Fourth Circuit, he must do so within thirty (30) days

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from the date of this Final Order. Conyers may seek such a
certificate by filing a written notice of appeal with the Clerk of
the United States District Court, United States Courthouse, 600
Granby Street, Norfolk, Virginia 23510.

The Clerk shall forward a copy of this final order to Conyers

and counsel of record for respondent.

—Lst_. ERS |
Rebecca Beach Smith

Senior United States District Judge

Rebecca Beach Smith
Senior United States District Judge

 

 

Norfolk, Virginia
May (p , 2020
